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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )           CASE NO. 8:04CR262
                                              )
                     Plaintiff,               )
                                              )
       vs.                                    )          MEMORANDUM AND ORDER
                                              )
BRANDY K. BRENTON,                            )
                                              )
                     Defendant.               )

       This matter is before the Court on the motion, or application, for leave to proceed in

forma pauperis and declaration in support (Filing No. 83) filed by the Defendant, Brandy K.

Brenton.

       The Defendant, who had retained counsel in the district court, now seeks leave to

proceed in forma pauperis on appeal from her conviction and sentence. Her motion

complies with Federal Rule of Appellate Procedure 24(a). The affidavit provided therein

show her inability to pay fees and costs or give security therefor. Furthermore, the notice

of appeal sets forth generally the issues that the Defendant intends to raise on appeal and

claims an entitlement to redress.

        Therefore, the motion to proceed on appeal in forma pauperis will be granted.

       IT IS ORDERED that motion, or application, for leave to proceed in forma pauperis

and declaration in support (Filing No. 83) is granted.

       DATED this 18th day of August, 2005.

                                                  BY THE COURT:

                                                  s/ Laurie Smith Camp
                                                  United States District Judge
